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                                                W estern DistrictofVirginia

                       Katherine Painter



                              V.                                   CivilAction No.6:17-cv-00034-NKM
         Blue Ridge RegionalJailAuthority,etaI.,




                                           SUM M ONS IN A CIVIL ACTION
To:(Dqfendanl.s7?t              OfticerTimothy Farrar
                 w?Jeandaddress)Blue Ridge RegionalJailAuthority
                                510 Ninth Street
                                Lynchburg,VA 24504




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          W ithin21daysafterserviceofthissummonsonyou(notcountingthedayyoureceivedit) or60daysifyou
are theUnited StatesoraUnited Statesagency,oran officeroremployeeoftheUnited Statesdescribed in Fed.R.Civ.
P.12(a)(2)or(3) or120daysforSocialSecurity C.asesfiledpursuantto42USC 405(g)                     youmustserveon the
plaintiffan answerto theattached complaintora motion underRule 12 oftheFederalRulesofCivilProcedure.The
answerormotion mustbeserved on theplaintifforplaintiff'sattorney,whosename and addressare:
                              T.Vaden'W arren,Jr.,Esquire
                              The W arren Firm PLLC
                              516 LocustAve.
                              Charlottesville,VA 22902


             Ifyoufailtorespond,judgmentbydefaultwillbeenteredagainstyou forthereliefdemandedinthedomplaint.
You alsomustfileyouranswerormotionwith thecoul'
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